          Case 2:06-cr-00186-WBS Document 50 Filed 06/13/07 Page 1 of 2




1

2

3

4

5

6

7
8                       IN THE UNITED STATES DISTRICT COURT

9                      FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,

12                Plaintiff,                      REASSIGNMENT ORDER

13           v.                                   Cr. S-06-186 DFL

14   KENNETH LYNN ARNOLD and
     WILLETTE ELLISHA KING.
15
                  Defendants.
16                                        /

17
             Good cause appearing, and according to Local Rule,
18
     Appendix A(f)(1), this case has been reassigned to Judge Edward
19
     J. Garcia for all further proceedings.
20
             Henceforth, the parties shall please take note that all
21
     documents in this reassigned case hereafter filed with the
22
     Clerk of the Court shall bear case number Cr. S-06-186 EJG.
23
             IT IS FURTHER ORDERED that all dates presently set before
24
     Judge David F. Levi be vacated from his calendar.
25
     //
26
       Case 2:06-cr-00186-WBS Document 50 Filed 06/13/07 Page 2 of 2




1         IT IS ALSO ORDERED that the Clerk of the Court make

2    appropriate adjustment in the assignment of criminal cases to

3    compensate for this reassignment.

4         IT IS SO ORDERED.

5

6    DATED: June 12, 2007
                                       /s/ David F. Levi
7                                      DAVID F. LEVI
                                       United States District Judge
8

9

10        Having reviewed the file, I accept assignment of this

11    case for all further proceedings.

12
     DATED:   June 12, 2007
13                                      /s/ Edward J. Garcia
                                       EDWARD J. GARCIA
14                                     United States District Judge

15

16

17
18

19

20

21

22

23

24

25

26

                                        2
